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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION


IN RE:                                             :          CASE NO. 17-50323-JRS
                                                   :
KRISTIE JACKSON STARGELL,                          :          CHAPTER 7
                                                   :
         Debtor.                                   :
                                                   :

 MOTION FOR ORDER AUTHORIZING COMPROMISE AND SETTLEMENT WITH
         DEBTOR UNDER RULE 9019 OF THE FEDERAL RULES OF
                    BANKRUPTCY PROCEDURE

         COMES NOW S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy estate

(the “Bankruptcy Estate”) of Kristie Jackson Stargell (“Debtor”), by and through the

undersigned counsel, and files his Motion for Order Authorizing Compromise and Settlement

with Debtor under Rule 9019 of the Federal Rules of Bankruptcy Procedure (the “Settlement

Motion”). In support of the Settlement Motion, Trustee respectfully shows the Court as follows:

                                       Jurisdiction and Venue

         1.        This Court has jurisdiction over this Settlement Motion under 28 U.S.C. §§ 157

and 1334. Venue of this case in this District is proper under 28 U.S.C. §§ 1408 and 1409. The

statutory predicate for the relief sought herein is Rule 9019 of the Federal Rules of Bankruptcy

Procedure. This Settlement Motion is a core proceeding under 28 U.S.C. § 157(b)(2).

                                             Background

         2.        On January 5, 2017 (the “Petition Date”), Debtor filed a voluntary petition for

relief under Chapter 13 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as

amended, modified, or supplemented, “Bankruptcy Code”) in the United States Bankruptcy

Court for the Northern District of Georgia, Atlanta Division (“Bankruptcy Court”), initiating




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Chapter 7 Case No. 17-50323-JRS (the “Bankruptcy Case”).

        3.    On April 6, 2017, Debtor filed a Motion to Convert to Chapter 7 [Doc. No. 25],

and the Case was converted to Chapter 7 on April 7, 2017.

        4.    Trustee was thereafter appointed the duly acting Chapter 7 trustee in the

Bankruptcy Case, and he remains in this role.

        5.    On the Petition Date, Debtor was the owner of record of that certain real property

with a common address of 217 Saint Martins Lane, SE, Mableton, Cobb County, Georgia 30126

(the “Property”).

        6.    Debtor’s interest in the Property (the “Interest”) is property of the Bankruptcy

Estate. See 11 U.S.C. §§ 348 and 541 (2017).

        7.    As part of his investigation of property of the Bankruptcy Estate, Trustee has had

the Property inspected by a licensed real estate broker and estimates that it has a value of

approximately $330,000.00.

        8.    Trustee estimates that after paying (a) the resulting costs of sale; (b) Debtor’s

available exemption; and (c) the valid encumbrances against the Property, the Interest has an

approximate value of $25,000.00 to $35,000.00.

        9.    Rather than Trustee’s selling the Interest of the Bankruptcy Estate in the Property,

Debtor would like to purchase the Interest from the Bankruptcy Estate (the “Transfer Dispute”).

        10.   Following negotiations, Trustee and Debtor (collectively, the “Parties”) have

reached an agreement to transfer the Interest to Debtor by Trustee’s abandoning it back to Debtor

following certain payments by Debtor.




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                                              The Settlement

        11.      Following negotiations and subject to Court approval, the Parties have entered

into a Settlement Agreement (the “Settlement Agreement”). Trustee attaches a copy of the

Settlement Agreement as Exhibit “A” to this Settlement Motion.                    Significant terms of the

Settlement Agreement are as follows:1

                      a. After the Settlement Approval Order2 becomes final, Debtor shall pay a
                         total of $25,000.00 (the “$25,000.00 Settlement Funds”) in good funds to
                         Trustee in exchange for Trustee’s abandoning the Interest to Debtor in
                         accordance with the following schedule (the “Scheduled Payments”):

                              i. $1,041.66 for 23 months, on the first day of each month, beginning
                                 on January 16, 2019; and

                             ii. $1,041.82 on December 16, 2020.

                 b.      The Interest of the Bankruptcy Estate in and to the Property shall be
                         deemed abandoned upon the later of: (a) Trustee’s receipt in full of the
                         $25,000.00 Settlement Funds from Debtor in good funds; or (b) the
                         Settlement Approval Order becoming final.

                 c.      Debtor shall insure the Property to protect the Bankruptcy Estate against
                         loss, whether casualty or personal liability, until the later of: (a) Trustee’s
                         receipt in full of the $25,000.00 Settlement Funds from Debtor; or (b) the
                         Settlement Approval Order becoming final.

                 d.      Debtor shall pay all ad valorem real property taxes that accrue against or
                         as a result of the Property until the later of: (a) Trustee’s receipt in full of
                         the $25,000.00 Settlement Funds from Debtor; or (b) the Settlement
                         Approval Order becoming final.

                 e.      Debtor shall pay all maintenance and repair expenses that arise from or
                         that are related to the Property until the later of: (a) Trustee’s receipt in
                         full of the $25,000.00 Settlement Funds from Debtor; or (b) the Settlement
                         Approval Order becoming final.



1
         The following is a summary of the Settlement Agreement and is not intended to be comprehensive. To the
extent that anything in this summary is contrary to the terms of the Settlement Agreement, the Settlement
Agreement controls.
2
        Capitalized terms not defined in this Settlement Motion shall have the meanings ascribed to them in the
Settlement Agreement.


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              f.      The Parties stipulate and agree that Debtor shall not have a claim under
                      Section 502(h) of the Bankruptcy Code in the Bankruptcy Case for or on
                      account of payment of the $25,000.00 Settlement Funds, or for any reason,
                      and that neither Debtor nor any of her affiliates, agents, principals, or
                      subsidiaries shall receive a distribution from the Bankruptcy Estate.

              g.      Effective upon the Settlement Approval Order becoming final, Debtor
                      shall waive any and all obligations that the Bankruptcy Estate may
                      otherwise have to pay to Debtor out of the $25,000.00 Settlement Funds
                      on account of exemptions asserted by or on behalf of Debtor, if any, in the
                      Property, the Interest, or the $25,000.00 Settlement Funds.

                   h. If Debtor fails to pay timely any of the Scheduled Payments as set forth in
                      Section 2.2 of the Settlement Agreement, Debtor shall be entitled to one,
                      and only one, five (5) day cure period following notice (the “Default
                      Notice”) by Trustee to Debtor, in which Trustee shall notify Debtor that
                      she has failed to make a Scheduled Payment and which notice shall be
                      given as set forth in Section 11 of the Settlement Agreement. Following
                      Debtor’s receipt, as set forth in Section 11 of the Settlement Agreement, of
                      her one and only one Default Notice, Debtor shall have five (5) calendar
                      days to cure the non-payment (the “5-Day Cure Opportunity”) of the
                      Scheduled Payment by delivering the Scheduled Payment to Trustee as set
                      forth in Section 2.2 of the Settlement Agreement. If Debtor fails to cure
                      the unpaid Scheduled Payment following her one 5-day Cure Opportunity,
                      then:

                           i. Trustee shall be entitled to retain for the benefit of the Bankruptcy
                              Estate any Scheduled Payments that Debtor has made to Trustee;
                              and

                          ii. Trustee shall be entitled to and Debtor shall consent to Trustee’s
                              selling the Property.

                                        Relief Requested

        12.   By this Settlement Motion, Trustee requests that the Court approve the Settlement

Agreement between the Parties.

                                         Basis for Relief

        13.   Federal Rule of Bankruptcy Procedure 9019(a) provides, in pertinent part, that

“[o]n motion by Trustee and after notice of a hearing, the court may approve a compromise or

settlement.” Fed. R. Bankr. P. 9019(a). The standard in this Circuit for determining whether to


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approve a compromise or settlement pursuant to Rule 9019(a) is set forth in Wallis v. Justice

Oaks II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990), cert. denied, 498 U.S.

959 (1990), in which the Eleventh Circuit stated as follows:

        When a bankruptcy court decides whether to approve or disapprove a proposed
        settlement, it must consider:

        (a) The probability of success in the litigation; (b) the difficulties, if any, to be
        encountered in the matter of collection; (c) the complexity of the litigation
        involved, and the expense, inconvenience and delay necessarily attending it; (d)
        the paramount interest of the creditors and a proper deference to their reasonable
        views in the premises.

Id. at 1549. In making its evaluation, a court must not rest its approval of the settlement on a

resolution of the ultimate factual and legal issues underlying the compromised disputes. In re

Teltronics Servs., Inc., 762 F.2d 185, 189 (2d Cir. 1985). Rather, the court should consider the

probable outcome of the litigation, including its advantages and disadvantages, and make a

pragmatic decision based on all equitable factors. Florida Trailer and Equip. Co. v. Deal, 284

F.2d 567, 571 (5th Cir. 1960).

        14.    The proposed settlement between the Parties is the product of arms’ length

negotiations and reflects the Parties’ analysis and consideration of the relevant legal, factual, and

economic issues.

        15.    The proposed settlement will allow Trustee to make a meaningful distribution to

the holders of timely filed general unsecured claims in this Bankruptcy Case and avoid the costs

and risks of marketing and selling the Property through a licensed real estate broker (and also

allow Debtor to keep her primary residence).

        16.    Under the standard set forth above and for the reasons previously detailed in this

Settlement Motion, Trustee urges that this Court approve the Settlement Agreement.




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        WHEREFORE, Trustee respectfully requests that the Court enter an Order (i) granting

this Settlement Motion; (ii) authorizing Trustee to take actions reasonably necessary to effectuate

the terms of the Settlement Agreement; and (iii) granting to the parties such other and further

relief as the Court deems just and appropriate.

        Respectfully submitted, this 5th day of December, 2018.

                                                        ARNALL GOLDEN GREGORY LLP
                                                        Attorneys for Trustee

                                                        By: /s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                              Michael J. Bargar
Atlanta, GA 30363                                            Georgia Bar No. 645709
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                             EXHIBIT “A” FOLLOWS




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                                 CERTIFICATE OF SERVICE

       This is to certify that I, Michael J. Bargar, am over the age of 18 and that I have this day
served a true and correct copy of the foregoing Motion for Order Authorizing Compromise and
Settlement with Debtor under Rule 9019 of the Federal Rules of Bankruptcy Procedure by first
class United States mail on the following entities at the addresses stated:

Office of the United States Trustee
362 Richard B. Russell Bldg.
75 Ted Turner Drive, SW
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Michael R. Rethinger
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S. Gregory Hays
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Kristie Jackson Stargell
217 Saint Martins Lane SE
Mableton, GA 30216

Kristie Jackson Stargell
217 Saint Martins Lane SE
Mableton, GA 30126


        This 5th day of December, 2018.


                                                            /s/ Michael J. Bargar
                                                            Michael J. Bargar
                                                            Georgia Bar No. 645709
                                                            michael.bargar@agg.com




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